Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 1 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 2 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 3 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 4 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 5 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 6 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 7 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 8 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                          Exhibit A & B Page 9 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                         Exhibit A & B Page 10 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                         Exhibit A & B Page 11 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                         Exhibit A & B Page 12 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                         Exhibit A & B Page 13 of 14
Case 3:09-bk-35714   Doc 16-1 Filed 12/18/09 Entered 12/18/09 07:55:27   Desc
                         Exhibit A & B Page 14 of 14
